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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                               §
DISPLAY TECHNOLOGIES LLC,                                      §
                                                               §
       Plaintiff,                                              §
                                                               §
       v.
                                                               §
SONY COMPUTER ENTERTAINMENT AMERICA                            §
                                                                   2:15-cv-00997-JRG-RSP
LLC                                                            §
NVIDIA CORPORATION                                             §   2:15-cv-00998-JRG-RSP
VALVE CORPORATION                                              §   2:15-cv-00999-JRG-RSP
SAMSUNG ELECTRONICS AMERICA, INC. ET AL                        §   2:15-cv-01000-JRG-RSP


                                             ORDER

       The above-captioned cases are hereby ORDERED to be CONSOLIDATED for all

pretrial issues (except venue) with the LEAD CASE, Cause No. 2:15-cv-00998. All parties are

instructed to file any future filings (except relating to venue) in the LEAD CASE. Individual

cases remain active for venue determinations and trial. The Court will enter one docket control

order, one protective order, and one discovery order that will govern the entire consolidated case.

       If a docket control order, protective order, discovery order, and/or appointment of

mediator has been entered in the lead case at the time new member cases are added to the

consolidated action, all parties are directed to meet and confer in order to determine whether

amendments to such documents are necessary. Any proposed amendments to the docket control

order, protective order, discovery order, or appointment of a mediator shall be filed within two

weeks of this Order.

       The local rules’ page limitations for Markman briefs and other motions will apply to the

consolidated case. To further promote judicial economy and to conserve the parties’ resources,

the Court encourages the parties to file a notice with the Court in the event that there are other
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related cases currently pending on the Court’s docket that may also be appropriate for

consolidation with this case.
   .
       The Clerk is instructed to add the consolidated defendants into the Lead Case and their

corresponding Lead and Local Counsel only. Additional counsel may file a Notice of

Appearance in the Lead Case if they wish to continue as counsel of record in the lead

consolidated action. Counsel who has appeared pro hac vice in any member case may file a

Notice of Appearance in the Lead Case without filing an additional application to appear pro hac

vice in the Lead Case.

        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 27th day of August, 2015.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
